Case 3:15-cv-07263-MAS-TJB Document 16 Filed 11/23/15 Page 1 of 1 PageID: 81




                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


THE INDEPENDENCE PROJECT, INC.,
Et. al.

                           Plaintiffs,                 Order of Dismissal
                  v.
                                                       Civil Action No. 15-7263 (MAS)

FR PARK RACING, L.P.

                           Defendants.


---------------------------------------------


                  It having been reported to the Court that the above-captioned action has been

         settled, and that the request for an order of dismissal is not based on a desire to adjourn or

         delay the proceedings herein;

                  IT IS on this 20th day of November, 2015

                  ORDERED THAT:

               (1) This action is hereby DISMISSED without cost and without prejudice to the
right, upon motion and good cause shown, within 60 days, to reopen this action if the settlement
is not consummated; and



                (2) If any party shall move to set aside this Order of Dismissal as provided in the
first paragraph or pursuant to the provisions of Fed. R. Civ. P. 60(b), in deciding such motion the
Court retains jurisdiction of the matter to the extent necessary to enforce the terms and conditions
of any settlement entered into between the parties.


                                                                s/Michael A. Shipp
                                                                Michael A. Shipp, U.S.D.J.
